                      Case 2:17-cv-01964-JCM-BNW Document 194 Filed 01/11/21 Page 1 of 2



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                 4                                 UNITED STATES DISTRICT COURT
                 5                                         DISTRICT OF NEVADA
                 6                                                     ***
                 7      JUSTIN L. TRIPP,                                       Case No. 2:17-CV-1964 JCM (BNW)
                 8                                             Plaintiff(s),                     ORDER
                 9             v.
               10       CLARK COUNTY, et al.,
               11                                           Defendant(s).
               12
               13              Presently before the court is the magistrate judge’s report and recommendation. (ECF No.
               14      164).
               15              The magistrate judge has recommended that this court deny plaintiff’s motion to amend to
               16      the extent that he seeks to add a request for injunctive relief to “Remove the Hitching Post(s) from
               17      CCDC booking areas, and alter policy to incorporate new training guidelines so that no future
               18      inmate will be subjected to being attached to benches, walls, cells, bars, immovable objects, or any
               19      other ‘Hitching Posts’ that CCDC may have been using wrongly” and a request for injunctive relief
               20      to “Pay for any and all future surgeries or complications that may arise out of this surgery.” (ECF
               21      Nos. 147-1, 164).
               22              Defendants have filed an objection, (ECF No. 174), but it is unrelated to the magistrate
               23      judge’s above-mentioned recommendation. Here, this court examines only this recommendation
               24      in light of the pending motion for reconsideration on other aspects of the magistrate judge’s ruling.
               25      (ECF No. 168).
               26              This court “may accept, reject, or modify, in whole or in part, the findings or
               27      recommendations made by the magistrate.” 28 U.S.C. § 636(b)(1). Where a party timely objects
               28      to a magistrate judge’s report and recommendation, then the court is required to “make a de novo

James C. Mahan
U.S. District Judge
                      Case 2:17-cv-01964-JCM-BNW Document 194 Filed 01/11/21 Page 2 of 2



                1      determination of those portions of the [report and recommendation] to which objection is made.”
                2      28 U.S.C. § 636(b)(1).
                3             Where a party fails to object, however, the court is not required to conduct “any review at
                4      all . . . of any issue that is not the subject of an objection.” Thomas v. Arn, 474 U.S. 140, 149
                5      (1985). Indeed, the Ninth Circuit has recognized that a district court is not required to review a
                6      magistrate judge’s report and recommendation where no objections have been filed. See United
                7      States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir. 2003) (disregarding the standard of review
                8      employed by the district court when reviewing a report and recommendation to which no
                9      objections were made).
              10              Nevertheless, this court has conducted a de novo review to determine whether to adopt the
              11       recommendation of the magistrate judge. Upon reviewing the recommendation and attendant
              12       circumstances, this court finds good cause to adopt the magistrate judge’s recommendation in full.
              13       (ECF No. 164).
              14              Accordingly,
              15              IT IS HEREBY ORDERED, ADJUDGED, and DECREED that Judge Weksler’s R&R
              16       (ECF No. 164) be, and the same hereby is, ADOPTED.
              17              DATED January 11, 2021.
              18                                                    __________________________________________
                                                                    UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                  -2-
